
970 So.2d 292 (2007)
Ex parte S.K. HAMILTON.
(In re State of Alabama
v.
S.K. Hamilton).
CR-04-1751.
Court of Criminal Appeals of Alabama.
March 2, 2007.
George C. Douglas, Jr., Birmingham; and Mark Smith Nelson, Talladega, for appellant.
Submitted on appellant's brief only.

On Remand from the Alabama Supreme Court
PER CURIAM.
In compliance with the Supreme Court's opinion in Ex parte Hamilton, 970 So.2d 285 (Ala.2006), this Court's ruling of July 19, 2005, denying Hamilton's petition for a writ of habeas corpus is due to be, and is hereby, set aside. This case is hereby remanded to the circuit court of Talladega County for proceedings consistent with the Supreme Court's opinion of December 22, 2006.
REMANDED WITH DIRECTIONS.[*]
BASCHAB, P.J., and McMILLAN, SHAW, WISE, and WELCH, JJ., concur.
NOTES
[*]  Note from the reporter of decisions: The Court of Criminal Appeals' docket sheet contains the following entry on March 2, 2007: "Case Disposed."

